                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
                              Plaintiff,        )
                                                )    No. 3:13-CR-161
                      v.                        )
                                                )
                                                )
FERNANDO AMAYO GONZALEZ,                        )    (REEVES / GUYTON)
                                                )
                              Defendant.        )


                           REPORT AND RECOMMENDATION

       All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C.§ 636(b) for disposition or report and recommendation as may be appropriate. This case

is before the Court on two matters related to the Defendant Fernando Amayo Gonzalez’s

representation. The first relates to a potential ethical violation by former retained counsel

Attorney Casey Caldwell, who placed the typed signature of original appointed counsel Attorney

Gerald L Gulley, Jr., on a proposed agreed order and filed this proposed order in the record as an

attachment to a motion for substitution of counsel.         Mr. Gulley, who was reappointed to

represent the Defendant on August 5, 2014, states that he did not assent to the proposed agreed

order. Second, is the question of whether funds paid to retained counsel should now be paid into

the Court’s Criminal Justice Act fund to defray the compensation of appointed counsel. The

Court permitted the Defendant’s former retained counsel Mr. Caldwell and Attorney Charles

Carpenter to withdraw from their representation of the Defendant.          At the undersigned’s

direction, Mr. Carpenter paid $7,500 into the Court’s registry on August 21, 2014.            Mr.

Carpenter states that this is the full amount that a family member of the Defendant paid to him




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and his firm to represent the Defendant. For the reasons stated below, the Court recommends

that the matter of the ethical violation by Mr. Caldwell be deemed moot and that the $7,500 be

paid into the Court’s Criminal Justice Act fund and used to compensate the Defendant’s current

appointed counsel.



                                      I.       BACKGROUND

       By way of background, the Court observes that on December 10, 2013, the Court found

the Defendant to be indigent and appointed [Doc. 7] Mr. Gulley, a Criminal Justice Act (CJA)

panel attorney, to represent the Defendant. On February 21, 2014, Attorney Caldwell filed a

Motion to Enter Agreed Order Substituting Counsel [Doc. 213] with a proposed Agreed Order

[Doc. 213-1] attached. This motion asked the Court to approve the Agreed Order, substituting

Mr. Caldwell as counsel and allowing Mr. Gulley to withdraw. The proposed Agreed Order

states that the Defendant has retained Mr. Caldwell and his firm of Gribble, Carpenter, and

Associates to represent him. The Agreed Order bears the typed signatures of both Mr. Caldwell

and Mr. Gulley. On February 24, Mr. Gulley filed a notice [Doc. 214], stating that while he had

no objection to the substitution of counsel, he had never spoken with Mr. Caldwell, approved the

Agreed Order, or even seen the Agreed Order prior to its filing in the Court’s electronic case file.

On February 25, the undersigned ordered [Doc. 215] Mr. Caldwell to show cause why he should

not be sanctioned for placing Mr. Gulley’s signature on the Agreed Order without Mr. Gulley’s

permission.

       On March 4, 2014, Mr. Caldwell responded [Doc. 219] to the Show Cause Order, stating

that his paralegal had spoken with Mr. Gulley, who agreed to the substance of the Agreed Order

but said that he did not need to see it. Mr. Caldwell said the addition of Mr. Gulley’s signature



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to the Agreed Order was simply a misunderstanding. Mr. Caldwell attached the affidavit of the

paralegal to his response. The following day, Mr. Gulley filed a reply [Doc. 220] to Mr.

Caldwell’s response, explaining that while he had spoken with the paralegal on January 8, 2014,

she had told him that Attorney Charles Carpenter was retained to represent the Defendant and

that she did not mention an agreed order. Mr. Gulley stated that he asked the paralegal to have

Mr. Carpenter call to arrange the details of the transfer of representation, but Mr. Carpenter never

called him, and no one returned his voice mail messages to the firm in the following weeks. On

March 14, 2014, the Court granted [Doc. 232] the substitution of Mr. Caldwell and relieved Mr.

Gulley as counsel of record. The Court held the ethical matters surrounding the proposed

Agreed Order in abeyance but found that the Defendant needed to have the matter of his

representation resolved so that he could proceed with his case.

       On July 15, 2014, the Government moved [Doc. 318] for a status conference, stating that

Attorney Caldwell had never contacted AUSA Stone regarding the proposed plea agreement

given to Mr. Gulley and had never arranged to obtain the discovery in this case. On July 18, Mr.

Caldwell moved [Doc. 329] the Court to extend the July 18 deadline for concluding plea

negotiations, observing that although he had been reviewing discovery, he needed additional

time due to the volume of discovery and the language barrier with his client.

       On July 21, 2014, the parties appeared for a status conference before Magistrate Judge C.

Clifford Shirley, Jr. Mr. Caldwell informed the Court that Mr. Carpenter actually represented the

Defendant but that he (Caldwell) was assisting Mr. Carpenter because he was admitted in federal

court. Mr. Caldwell stated that while he had reviewed the discovery obtained from Mr. Gulley,

he was not aware of additional discovery contained on a hard drive that could be checked out

from the Government. He stated that Mr. Carpenter had met with the Defendant once at the time



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the firm was retained and that he had met with the Defendant once, the previous Friday, which

was the day that the plea deadline expired. Mr. Caldwell did not know whether Mr. Carpenter

had reviewed the documents filed in the record, some of which referred to the hard drive of

discovery. Judge Shirley continued the status conference to August 5 for Mr. Caldwell to speak

with the Defendant about whether the Defendant wanted to continue the attorney-client

relationship and so that Mr. Carpenter could be present to provide information to the Court.

       At 9:46 p.m. on the evening before the status conference, Mr. Caldwell filed a Motion to

Withdraw [Doc. 376], asking that he and the firm of Gribble, Carpenter, and Associates be

allowed to withdraw from the representation of the Defendant. The motion states that on

December 17, 2013, the Defendant’s brother retained the firm to represent the Defendant in this

case. The Motion relates that following Mr. Caldwell’s substitution as counsel of record on

March 14, 2014, a paralegal obtained discovery from Mr. Gulley. Another paralegal reviewed

and organized this discovery, which spanned approximately 6,000 pages of documents. On July

18, Mr. Caldwell spoke with AUSA Stone by telephone and learned that the original discovery

constituted approximately one-third of the total discovery, the remainder of which was contained

on a hard drive. The motion states that this was the first that Mr. Caldwell or the firm knew of

the hard drive. On July 31, Mr. Caldwell, Mr. Carpenter, and a paralegal met with the Defendant

to discuss the firm withdrawing from his case. The motion also states that the firm of Gribble,

Carpenter, and Associates has disbanded, leaving only Mr. Carpenter, and that Mr. Caldwell is

moving to North Carolina in September 2014. The motion states that due to the volume of the

discovery and the dissolution of the firm, the firm lacks the resources to represent the Defendant

effectively.




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       At the August 5 hearing, Mr. Caldwell reiterated the information in his Motion to

Withdraw, stated that he was moving to North Carolina on September 1, and said that he would

no longer be practicing law. He stated that he did not receive the fee paid for the Defendant’s

representation and that Mr. Carpenter would have to speak to the matter of the fee. Mr. Caldwell

stated that the Defendant understood and did not object to their Motion to Withdraw. Mr.

Caldwell said that he had not arranged for new counsel for the Defendant and that he did not

think the Defendant could afford to hire new counsel.

       AUSA Stone said the Government rejected every excuse offered in the Motion to

Withdraw. He said that the hard drive containing discovery was referenced in multiple discovery

letters, in Court Orders, and in the motions filed by prior appointed counsel. AUSA Stone stated

that due to the lack of representation by Mr. Caldwell and his firm, the Defendant was prejudiced

because he was facing a life sentence and any opportunity to obtain a more favorable plea

agreement by cooperating had been lost. He proposed that the Court order Mr. Caldwell and Mr.

Carpenter to return the fee to the Defendant’s family with interest.

       The Defendant told the Court that he understood that he needed a new attorney and asked

the Court to appoint one for him. He stated that he did not hire Mr. Caldwell and Mr. Carpenter

and that he does not have the financial ability to hire a new attorney. The Defendant agreed that

his financial situation had not improved since he filled out a financial affidavit prior to the

appointment of Mr. Gulley. Mr. Gulley was present in the courtroom and agreed to resume

representation of the Defendant. The Defendant did not object to the Court’s appointment of Mr.

Gulley and stated that he understood that his trial would be continued.

       Attorney Carpenter related that he had retained Attorney Joe Costner to represent him at

this hearing but that Mr. Costner was not able to attend the hearing with him because he was



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currently in trial. Mr. Carpenter stated that he was reluctant to proceed without counsel. He

stated that he received money from the Defendant’s brother to represent the Defendant. He said

that he had an appointment on Friday, August 8, 2014, to return that money to the Defendant’s

brother. The Court directed Mr. Carpenter to retain this fee until receiving further direction from

the Court. The Court also permitted Mr. Caldwell and the firm of Gribble, Carpenter, and

Associates to withdraw from representing the Defendant and reappointed Mr. Gulley to represent

him under the Criminal Justice Act, 18 U.S.C. §3006A.

       On August 7, 2014, the Court entered a Memorandum and Order [Doc. 389] continuing

the trial and documenting the substitution of Defendant’s counsel. In this Order, the Court found

that the funds paid by the Defendant’s family member to retain Gribble, Carpenter, and

Associates to represent the Defendant were intended to be used for and paid on behalf of the

Defendant’s legal representation. The Court therefore found that these funds could be used to

reimburse the CJA fund for the cost of the Defendant’s appointed counsel. The Court ordered

Mr. Carpenter to pay the entire fee that he and his firm received to represent the Defendant into

the registry of the Court, observing that the ultimate disposition of these funds will be

determined by the District Judge. In compliance with this Order, Mr. Carpenter paid $7,500 into

the Court’s registry on August 21, 2014.



                                   II.     FINDINGS OF FACT

       The Court finds that a family member of the Defendant paid $7,500 to retain Attorney

Charles Carpenter and the law firm of Gribble, Carpenter, and Associates to represent Defendant

Fernando Amayo Gonzalez in this case. Attorney Casey Caldwell, an associate with Gribble,

Carpenter, and Associates, was substituted as the Defendant’s counsel of record on March 14,



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2014. Despite representing the Defendant from March 14 through the extended motion-filing

deadline of April 4, and until the deadline for concluding plea negotiations on July 18, 2014,

members of the firm only met with the Defendant twice, filed no substantive motions, reviewed

only one-third of the discovery in the case, and never reviewed the Government’s proposed plea

offer with the Defendant.      Mr. Caldwell and his firm were permitted to withdraw from

representation of the Defendant. Mr. Carpenter agreed to return the entire $7,500, and did not

seek to retain any part of those funds for the services rendered to the Defendant.

       The Court also finds that the Defendant is indigent and qualifies for court-appointed

counsel under the Criminal Justice Act. The firm of Gribble, Carpenter, and Associates has now

disbanded, and Mr. Caldwell no longer practices law in this district.



                                         III.    ANALYSIS

       First, the Court turns briefly to the pending ethical issue forming the basis of the Court’s

February 25 Show Cause Order. Tennessee Rule of Professional Responsibility 3.3 states that

“[a] lawyer shall not knowingly . . . make a false statement of fact or law to a tribunal[.]” Tenn.

S. Ct. R. 8. In the present case, it appears that Attorney Caldwell filed a proposed agreed order

of substitution bearing Attorney Gerald Gulley’s typed signature without showing the proposed

order to Mr. Gulley or receiving Mr. Gulley’s authorization to place his signature thereon.

Attorney Caldwell has consistently argued that his filing of a proposed agreed order of

substitution bearing Attorney Gulley’s typed signature was a misunderstanding. He argues that

Mr. Gulley told Paralegal Shannon Phillips that he did not object to the substitution and that he

did not need to see the proposed agreed order before it was filed. Mr. Gulley contends that while

he in fact did not object to the substitution, he was never asked about the proposed agreed order



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and that he would have never agreed to have his name added as endorsing a document without

reviewing the exact language of the document.

       The Court finds that despite the affidavit of Ms. Phillips, the evidence in this case

supports Mr. Gulley’s version of the facts. Mr. Gulley states that he spoke with Ms. Philips on

January 8, 2014 about Attorney Charles Carpenter representing the Defendant. According to Mr.

Gulley, there was no mention of an agreed order in this conversation, and Mr. Gulley asked that

Mr. Carpenter contact him to arrange the details of the transfer of representation. When Mr.

Carpenter never contacted him, despite his leaving several messages for Mr. Carpenter, Mr.

Gulley continued to represent the Defendant, including filing pretrial motions and appearing by

telephone to represent the Defendant at a pretrial conference on January 30, 2014. At the hearing

before Judge Shirley on July 21, Mr. Caldwell stated that Mr. Carpenter was representing the

Defendant and had conducted the initial client meeting with the Defendant in January. Mr.

Caldwell described his role in the firm’s representation of the Defendant as being the link

between Mr. Carpenter and the Court, because Mr. Carpenter was not admitted in the Eastern

District of Tennessee. Finally, the Court observes that despite Mr. Caldwell’s contention that the

proposed agreed order could not be emailed to Mr. Gulley on January 8, 2014, because the firm

was experiencing problems with its email that day, the proposed agreed order was not filed until

February 21, 2014. Mr. Caldwell provides no explanation for the six-week delay in filing the

motion for substitution or for why the proposed order was not emailed to Mr. Gulley in the

interim.

       Nevertheless, the Court finds that it does not have enough evidence to find that Mr.

Caldwell knowingly filed a document falsely representing Mr. Gulley’s endorsement. Based

upon Mr. Caldwell’s statements at the hearings in July and August 2014, the Court observes that



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Mr. Caldwell received much of his information about the case from Mr. Caldwell or others in the

firm, rather than making his own examination of the filings. In any event, the Court also

observes (1) the matter of Mr. Caldwell placing Mr. Gulley’s typed signature on the proposed

agreed order in no way prejudiced the Defendant or the Government, (2) the Court was not

misled about Mr. Gulley’s lack of objection to the requested substitution, (3) the Court has no

evidence that Mr. Carpenter was involved in the matter of Mr. Gulley’s signature on the

proposed agreed order, and (4) finally, Mr. Caldwell is no longer practicing law in this district or

even this state. Accordingly, the Court recommends that the District Judge find the potential

ethical violation arising from Mr. Caldwell’s placement of Mr. Gulley’s typed signature on the

proposed agreed order of substitution to be moot.

       In making this recommendation, the undersigned does not seek to diminish the serious

nature of a violation of the duty of candor to the Court, nor the serious consequences that should

follow from such a violation. However, in the instant case, it appears that Mr. Caldwell has

reaped the consequences of his flawed conduct, leaving behind both his home and his profession.

The Court would be hard pressed to deprive him of more than he has already deprived himself.

       The Court next turns to the matter of the $7,500 paid by the Defendant’s brother for the

Defendant’s representation. The Sixth Amendment to the United States Constitution provides

that “[i]n all criminal prosecutions, the accused shall enjoy the right . . . to have the Assistance of

Counsel for his defense.” Congress has codified this right in the Criminal Justice Act, which

provides that an indigent defendant is entitled to representation by court-appointed counsel from

his or her initial appearance through trial and direct appeal. 18 U.S.C. § 3006A. Defendants

who cannot afford to retain counsel themselves but who are able to contribute to the fees of

appointed counsel must do so:



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              Whenever the United States magistrate judge or the court finds that
              funds are available for payment from or on behalf of a person
              furnished representation, it may authorize or direct that such funds
              be paid to the appointed attorney, . . . or to the court for deposit in
              the Treasury as a reimbursement to the appropriation, current at the
              time of payment, to carry out the provisions of [the Criminal
              Justice Act].

18 U.S.C. § 3006A(f) (emphasis added).

       Here, although the Defendant is indigent, a family member paid $7,500 to retain Mr.

Carpenter and his firm to represent the Defendant. The Court finds that the funds paid to retain

Gribble, Carpenter, and Associates to represent the Defendant were intended to be used for and

paid on behalf of the Defendant’s legal representation. The Court also finds that Mr. Carpenter

agreed to return those funds to the Defendant’s brother when the firm asked to withdraw from its

representation of the Defendant. Thus, the Court concludes that the $7,500 intended for the

Defendant’s representation in this criminal case should be paid into the Court’s CJA fund to be

used toward payment of the Defendant’s appointed counsel Mr. Gulley.              The undersigned

recommends that the District Judge order the $7,500 be paid to the Court’s CJA fund.



                                      IV.     CONCLUSION

       Based upon the Court’s factual findings and its review of the relevant law, the Court

RECOMMEDS that the District Judge deem the question of whether Attorney Casey Caldwell

violated the duty of candor to the Court in filing a proposed agreed order on February 21, 2014,

to be moot.

       The Court also finds that the $7,500 paid to Carpenter, Gribble, and Associates by a

family member of the Defendant should be paid into the Court’s Criminal Justice Act fund to be

used to pay appointed defense counsel.               Accordingly, the undersigned respectfully



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RECOMMENDS that the $7,500 presently held in the Court’s registry be paid into the CJA

fund to be used to compensate Mr. Gulley.1

       The Clerk of Court is DIRECTED to mail a copy of this Report and Recommendation to

Attorney Joseph Costner, counsel for Charles Carpenter.

                                             Respectfully submitted,




                                             United States Magistrate Judge




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  Any objections to this report and recommendation must be served and filed within fourteen (14)
days after service of a copy of this recommended disposition on the objecting party. Fed. R.
Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the
right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537
F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that
failure to file objections in compliance with the required time period waives the right to appeal
the District Court’s order). The District Court need not provide de novo review where objections
to this report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806
F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith
v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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